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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

Criminal Case No. 21-cr-00392-RM

UNITED STATES OF AMERICA,

              Plaintiff,

v.

1.     DANIEL STONEBARGER,

           Defendant.
______________________________________________________________________

        UNITED STATES’ MOTION FOR FINAL ORDER OF FORFEITURE
______________________________________________________________________

       COMES NOW the United States of America (“United States”), by and through

United States Attorney Cole Finegan and Assistant United States Attorney Tonya S.

Andrews, and moves this Court to enter a Final Order of Forfeiture in this case pursuant

to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c) and Fed. R. Crim. P. 32.2. In support

thereof, the United States submits the following:

       1.     In the Information on November 18, 2021, as to defendant Daniel

Stonebarger, the United States sought forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C),

28 U.S.C. § 2461(c) of all of the defendant’s right, title, and interest in all property

constituting and derived from any proceeds the defendant obtained directly and

indirectly as a result of the violation alleged in Count One, 18 U.S.C. § 1343, including

but not limited to: 1) $548,861.29 in fraud proceeds seized from his bank account

ending in 6774, Civil Case No. 21-mc-00138-SKC; 2) a 2016 Land Rover Range Rover

seized in Civil Case No. 21-mc-00142-SKC; and 3) a money judgment in the amount of

the proceeds obtained by the defendant’s scheme. (Doc. 1 at 8-9).

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        2.    On January 27, 2022, the United States and defendant Daniel

Stonebarger entered into a plea agreement. As part of the Plea Agreement, the

defendant agreed to waive indictment and plead guilty to Count One in the Information

and forfeit the following property:

              a. $548,861.29 seized from Account No. XXXX-XXXX-6774, account title

                  Finish Armor, LLC, seized in Civil Case No. 21-mc-00138-SKC; and

              b. A Land Rover Range Rover, seized in Civil Case No. 21-mc-00142-

                  SKC; and

              c. Agrees to a forfeiture money judgment for the total amount of

                  restitution. (Doc. 20 at 1-2).

        3.    On March 22, 2022, the Court entered a Preliminary Order of Forfeiture

forfeiting to the United States any and all of defendant Daniel Stonebarger’s right, title,

and interest in the: $548,861.29 in fraud proceeds from the defendant’s bank account

ending in 6774, account title Finish Armor, LLC, and the 2016 Land Rover Range

Rover, VIN #SALWR2EFXGA577611; and a Personal Money Judgment in the amount

of $334,533.21. (Doc. 31 at 2).

        4.    The Preliminary Order of Forfeiture directed the United States to seize the

subject property and to publish notice of the forfeiture. Accordingly, the United States

properly published notice of forfeiture, via an official government internet website for

thirty consecutive days from May 28, 2022 to June 27, 2022, consistent with Federal

Rule of Criminal Procedure 32.2(b)(6)(A). The deadline to file a Verified Statement of

Interest or Petition for Ancillary Hearing based on the publication deadline was July 27,

2022.



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       5.     Federal Rule of Criminal Procedure 32.2(b)(6)(A) also requires that the

government send notice of the Preliminary Order of Forfeiture to “any person who

reasonably appear to be a potential claimant with standing to contest the forfeiture in

the ancillary proceeding.” The United States sent notice to Finish Armor, LLC, c/o

Daniel D. Stonebarger.

       6.     No Verified Statement of Interest or Petition for Ancillary Hearing has been

filed by any third party within the time period set forth in the publication notice.

Therefore, any third party is barred by their failure to timely file a petition asserting an

interest in the property to be forfeited.

       WHEREFORE, the United States moves this Court for entry of the Final Order of

Forfeiture tendered herewith in accordance with 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. §

2461(c) and Fed. R. Crim. P. 32.2.

       DATED this 1st day of August 2022.

                                                   Respectfully submitted,

                                                   COLE FINEGAN
                                                   United States Attorney

                                            By:    s/__Tonya S. Andrews________
                                                   Tonya S. Andrews
                                                   Assistant United States Attorney
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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 1st day of August 2022, I electronically filed the
foregoing with the Clerk of Court using the ECF system which will send notice to all
counsel of record.

                                                 s/ Sheri Gidan
                                                 FSA Paralegal
                                                 Office of the U.S. Attorney




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